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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,            Case No. 2:19-cv-00291-JRG-RSP
                                             (LEAD CASE)
                       Plaintiff,
                                             JURY TRIAL DEMANDED
              v.

   HOLOPHANE EUROPE LIMITED,
   ACUITY BRANDS LIGHTING DE
   MEXICO S DE RL DE CV, HOLOPHANE,
   S.A. DE C.V., AND ARIZONA (TIANJIN)
   ELECTRONICS PRODUCTS TRADE CO.,
   LTD.,

                       Defendants.

   ULTRAVISION TECHNOLOGIES, LLC,            Case No. 2:19-cv-00398-JRG-RSP
                                             (CONSOLIDATED CASE)
                       Plaintiff,
                                             JURY TRIAL DEMANDED
              v.

   YAHAM OPTOELECTRONICS CO., LTD.,

                       Defendant.

           PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S RESPONSE
           IN OPPOSITION TO YAHAM OPTOELECTRONICS CO., LTD.’S
               MOTION FOR SUMMARY JUDGMENT REGARDING
            NONINFRNGEMENT OF U.S. PATENT NO. 8,870,410 (DKT. 127)




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           Plaintiff Ultravision Technologies, LLC (“Ultravision” or “Plaintiff”), by and through its

 undersigned counsel, respectfully submits this Response in Opposition to Yaham Optoelectronics

 Co., Ltd.’s (“Defendant” or “Yaham”) Sealed Motion for Summary Judgment Regarding

 Noninfringement of U.S. Patent No. 8,870,410 (Dkt. 127) (the “Motion”). The Motion should be

 denied.

 I.        INTRODUCTION

           In this Motion, Yaham raises an array of improper claim construction arguments and

 critiques of Dr. Zane Coleman’s methodology. But these arguments are merely factual

 disagreements with Dr. Coleman’s opinions and conclusions. There are genuine disputes of material

 fact that preclude summary judgment over each of the three limitations at issue in the Motion.

           First, there is a genuine dispute over whether the                        the Accused

 Products equivalently satisfy the “acrylic material” limitations. Dr. Coleman reliably applies the

 function-way-result test to find that                          is equivalent to acrylic material based on

 their substantially similar features and application in optics. The addition of new claims

 contemporaneously with the Applicant’s response to an unrelated objection did not give rise to

 prosecution history estoppel. Yaham also fails to show any reason it should be allowed to argue a

 claim construction that it agreed to while knowing of Ultravision’s DoE positions, and Yaham’s new

 construction is improper. Accordingly, Yaham both fails to show the absence of any genuine dispute

 of material fact, and fails to show that prosecution history estoppel limits the application of the

 doctrine of equivalents to the “acrylic material” terms as a matter of law.

           Second, there is a genuine dispute of material fact over whether the accused products

 illuminate a display with “a ratio of the average illumination from each of the LEDs across the entire

 display surface to the minimum illumination at any point on the display surface from each of the

 LEDs is 3:1.” Dr. Coleman applies the plain and ordinary meaning of the term, which includes ratios

 which achieve a ratio (i.e. are lower than) 3:1. Yaham’s disagreement with Dr. Coleman’s

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 application of the plain and ordinary meaning of the term is a factual dispute that precludes

 summary judgment. Moreover, having failed to propose any construction at the appointed time,

 Yaham’s new claim construction arguments are both improper and incorrect. Accordingly, Yaham

 fails to meet its burden for summary judgement.

         Finally, there is a genuine dispute of material fact over whether each LED of the Accused

 Products “evenly illuminates substantially the entire display surface with a substantially equal level

 of illumination.” Yaham argues from the misapprehension that Dr. Coleman’s opinions applied only

 to the Accused Fixtures as a whole, and ignores Dr. Coleman’s extensive analysis showing that light

 output by the fixture was indicative of even illumination from each LED in Yaham’s fixtures.

 Accordingly, a genuine dispute remains as to whether each LED of the Accused Products satisfies

 this limitation.

         Yaham has failed to meet its burden for summary judgment, and the Motion must be denied.

 II.     COUNTERSTATEMENT OF THE ISSUES TO BE DECIDED BY THE
         COURT

         1.          Is there a genuine dispute of material fact regarding whether the

        of the Accused Products equivalently satisfy the “acrylic material” limitations of claim 15,

 and has Yaham satisfied its burden to show that it is correct as a matter of law?

                       a. Did Yaham waive its new claim construction arguments regarding the

                           “acrylic material” terms?

         2.         Is there a genuine dispute of material fact regarding whether the Accused Products

 illuminate a display surface wherein “a ratio of the average illumination from each of the LEDs

 across the entire display surface to the minimum illumination at any point on the display surface

 from each of the LEDs is 3:1.”

                       a. Did Yaham waive its new claim construction arguments regarding “a ratio of

                           … 3:1”

         3.         Is there a genuine dispute of material fact regarding whether each LED of the

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 Accused Products evenly illuminates a display surface.



 III.   RESPONSE TO YAHAM’S STATEMENT OF MATERIAL FACTS

        1.      Claim 15 of the ‘410 Patent require “an acrylic material substrate comprising a

 plurality of optical elements comprising the acrylic material.” Ex. A (’410 Patent) at 9:41-42.

 Response: Undisputed.

        2.      The Parties have agreed that “acrylic material” and “acrylic material substrate” mean

 “material containing primarily acrylates” and “substrate containing primarily acrylate” respectively.

 Ex. C at 1 (Parties’ agreed-upon constructions to Joint P.R. 4-3 Claim Construction and Prehearing

 Statement). The Court agrees. Ex. B (Markman Order) at 9. Response: Undisputed.

        3.




        4.




        5.




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        9.      Claim 15 of the ‘410 Patent recites “an acrylic material substrate comprising a

 plurality of optical elements . . . the plurality of optical elements disposed over the plurality of LEDs

 . . . the light from each of the LEDs is directed by the acrylic material substrate across the entire area

 of the display surface so that each LED evenly illuminates substantially the entire display surface

 with a substantially equal level of illumination from each of the LEDs.” Ex. A (’410 Patent) at 9:41-

 53. Response: Undisputed.

        10.     The Court construes the term “substantially equal level of illumination” to mean

 “level of illumination that does not create noticeable unevenness in the overall illumination, such as

 hot spots or dead spots.” Ex. B (Markman Order) at 20. Additionally, the Court construes

 “substantially the entire display surface” to mean “the entire display surface,” and “display surface”

 to mean “sign surface.” Id. at 30 and 48. Response: Undisputed.

        11.     Ultravision’s expert alleges that “I have determined that light distribution

 measurements and calculations for one variant of Yaham fixture (e.g. of Compact S, Linear II,

 Lumiway 2, Lumiway 3, Rana, T-Bar, and/or Tri) are representative of all variants.” Ex. D

 (Coleman Report) ⁋ 136. Response: The representativeness of Dr. Coleman’s opinions regarding

 light distribution the Accused Products is not material to any issue raised in the Motion. Yaham also

 omits relevant portions of Dr. Coleman’s opinions the representativeness of his tests.




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        12.     Ultravision’s expert asserts that “I have calculated uniformity characteristics for a

 representative sample of the above optical distribution types,” and that “[b]ased on the IES data I

 reviewed, it is my opinion that those calculations are representative of all of the above optical

 distribution types, and that the uniformity characteristics (including ratio of average to minimum

 uniformity) of other optics would necessarily fall within the range of the ones I for which I

 calculated a uniformity.” Ex. D (Coleman Report) ⁋ 138. Response: Undisputed.

        13.     Ultravision’s expert concludes that “Each of the LED and lens combinations on each

 of the Accused Products are configured to generate uniform illumination on a display surface.” Ex.

 D (Coleman Report) ⁋ 139. Response: Undisputed.

        14.




 IV.    ULTRAVISION’S COUNTERSTATEMENT OF MATERIAL FACTS




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        A.      The Accused Products Equivalently Satisfy the “Acrylic Material” and
                “Acrylic Material Substrate” Limitations

        1.      Asserted Claim 15 requires an “acrylic material substrate comprising a plurality of

 optical elements comprising the acrylic material, the plurality of optical elements protruding out of a

 major surface of the acrylic material substrate.” ‘410 Patent, Claim 15.

        2.      Ultravision originally proposed that acrylic material have its plain and ordinary

 meaning or be construed as “a material containing acrylate.” Ex. C at 9.

        3.      Yaham agreed to a slightly modified version of Ultravision’s construction, “material

 containing primarily acrylates.” Dkt. 72-1 at 1. The Court entered the agreed construction of “acrylic

 material” as “material containing primarily acrylates. Dkt. 111 at 9.

        4.      Ultravision’s infringement contentions disclosed that it contends the “acrylic

 material” limitations of claim 15 are satisfied through the doctrine of equivalents. Ex. D at 6.

        5.      Yaham did not submit any interrogatories or deposition topics regarding Ultravision’s

 doctrine of equivalents position, nor did Yaham otherwise seek discovery regarding Ultravision’s

 doctrine of equivalents position.

        6.



        7.      Dr. Zane Coleman, Ultravision’s technical expert, opines that a POSITA would

 understand “acrylic material,” as construed, to be satisfied by                materials through the

 doctrine of equivalents. Ex. A at ¶¶ 150-152.

        8.      Neither U.S. Patent Publication No. 2004/0004827 (“Guest”) nor U.S. Patent No.

 7,896,522, over which the ‘410 Patent was rejected during prosecution, make any reference to

               . The March 12, 2014 rejection of the ‘410 Patent made no mention of any material

 comprising the optical substrate. Ex. F, March 12, 2014 Rejection at 2-5.




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        B.      Each LED of the Accused Products Illuminates a Display Surface with a
                3:1 Ratio of Average to Minimum Illumination

        9.      The term “wherein a ratio of the average illumination from each of the LEDs across

 the entire display surface to the minimum illumination at any point on the display surface from each

 of the LEDs is 3:1” recited in claim 20 of the ‘410 Patent was not construed. Yaham did not propose

 any construction for this term during claim construction. See Dkt. 72.

        10.     Dr. Coleman opined that the plain and ordinary meaning of the term “wherein a ratio

 of the average illumination from each of the LEDs across the entire display surface to the minimum

 illumination at any point on the display surface from each of the LEDs is 3:1” “include[s] average to

 minimum illumination ratios better (i.e. more uniform) than 3:1.” Ex. A at ¶ 153. Dr. Coleman

 opined that this is consistent with “discussion of uniformity ratios in industry,” and is confirmed by

 discussion of “uniformity that achieves a 3:1 ratio” in the specification of the ‘410 Patent. Id. at ¶

 153-154.

        C.      Each LED of the Accused Products produces Even Illumination
                Without Hot Spots or Bright Spots

        11.




        12.




        13.

                                                                                  on this conclusion, Dr.


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 Coleman opined that the evenness of light emitted from each LED could be determined from the

 overall light output of a fixture. Ex. A at ¶¶ 144, 147.

        14.      Dr. Coleman determined that each LED of the Accused Products provides a level of

 illumination that does not create noticeable unevenness in the overall illumination, such as hot spots

 or dead spots based on the light output of the overall fixture. Ex. A at ¶¶ 145, 148; see also ¶¶ 132-

 139, Table 4.

 V.     LEGAL STANDARDS

      A. Summary Judgment

        Grant of summary judgment is appropriate only when there is no genuine issue of material

 fact, such that the moving party is entitled to summary judgment as a matter of law. Fed. R. Civ. P.

 56. Summary judgment may be granted only when no reasonable jury could return a verdict for the

 non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “Credibility

 determinations, the weighing of the evidence, and the drawing of legitimate inferences from the

 facts are jury functions, not those of a judge.” Id. at 255.

        In considering whether there is a genuine issue of material fact, the evidence must be viewed

 in the light most favorable to the party opposing the motion, with doubts resolved in favor of that

 party. Id. at 255; Rockwell Int’l Corp. v. United States, 147 F.3d 1358, 1362 (Fed. Cir. 1998).

 Further, where there are dueling experts, both of whom have put forward opinions in contradiction

 and when those opinions are important to resolution of a material factual dispute, summary

 judgment may not be appropriate. Hodosh v. Block Drug Co., 786 F.2d 1136, 1143 (Fed. Cir. 1986)

 (“The fact issues herein must be resolved by trial in which the conflicting views of the experts will

 be subject to the refining fire of cross examination.”). If two experts in the field have a reasonable

 disagreement, then the Court must leave credibility determinations and the weighing of the experts’

 opinions to the jury. Id. at 1142-43. Further, two experts’ competing applications of a claim

 construction is a fact issue to be decided by a jury. Metaswitch Networks Ltd. v. Genband US LLC,


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 No. 2:14-cv-744-JRG-RSP, 2016 WL 889217, at *2 (E.D. Tex. Mar. 8, 2016). “As a general rule,

 summary judgment is inappropriate where an expert’s testimony supports the non-moving party’s

 case.” Vasudevan Software, Inc. v. Microstrategy, Inc., 782 F.3d 671, 683 (Fed. Cir. 2015).

          B.     Doctrine of Equivalents

          Prosecution history estoppel does not limit the scope of the doctrine of equivalents where an

 “amendment cannot reasonably be viewed as surrendering a particular equivalent—e.g., where the

 equivalent was unforeseeable at the time of the application or the rationale underlying the

 amendment bears but a tangential relation to the equivalent.” Festo Corp. v. Shoketsu Kinzoku

 Kogyo Kabushiki Co., Ltd., 535 U.S. 722, 725 (2002).

          C.     Waiver of Claim Construction Arguments

          “Failure to timely raise ... claim construction arguments should ordinarily result in waiver of

 the arguments.” Ericsson Inc. v. TCL Commc'n Tech. Holdings, Ltd., No. 2:15-CV-00011-RSP,

 2017 WL 5137401, at *15 (E.D. Tex. Nov. 4, 2017) (citing Cent. Admixture Pharmacy Servs., Inc.

 v. Advanced Cardiac Sols., P.C., 482 F.3d 1347, 1356 (Fed. Cir. 2007)). Requests for additional

 claim construction should be denied where a party “could have made [] arguments during the claim

 construction phase of the case but did not...” Id. “[W]here a court has prescribed specific claim

 construction procedures and the parties have proceeded towards trial in reliance thereon, the court

 has discretion to preclude parties from injecting ‘new claim construction theories on the eve of

 trial.’” Intellectual Ventures II LLC v. BITCO Gen. Ins. Corp., No. 6:18-CV-00298-JRG, 2019 WL

 999902, at *3 (E.D. Tex. Feb. 28, 2019)

 VI.      ARGUMENT

       A. Yaham’s                   Optics Equivalently Satisfy “Acrylic Material”
          Limitations

          The Motion must be denied because there is a genuine dispute over whether the

                 lenses of the Accused Products equivalently practice the claimed “acrylic material”

 limitations. Vasudevan Software, Inc. v. Microstrategy, Inc., 782 F.3d 671, 683 (Fed. Cir. 2015)

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 (E.D. Tex. July 7, 2016) (“However, genuine disputes of material fact remain regarding whether

 Altera’s drive nut satisfies the set screw limitation under the doctrine of equivalents. Flexuspine

 presents evidence of its doctrine of equivalents theory through expert testimony. . . . A genuine

 dispute of material fact remains regarding whether Altera’s drive nut performs substantially the

 same function in substantially the same way to achieve substantially the same result as the set screw

 required by the asserted claim. Flexuspine’s doctrine of equivalents infringement theory therefore

 survives summary judgment and may be considered by the jury.”) Accordingly, Yaham has failed to

 meet its burden for summary judgment regarding the “acrylic material” and terms.

        In an attempt to address this shortcoming, Yaham argues for the first time that Ultravision is

 somehow precluded from asserting the doctrine of equivalents. It is not.

        First, Ultravision is not limited by prosecution history estoppel because the addition of new

 claims with “acrylic material” limitations “cannot reasonably be viewed as surrendering a particular

 equivalent.” Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., Ltd., 535 U.S. 722, 725, (2002).

 Contrary to Yaham’s suggestion, the acrylic limitations were not added to any rejected claim, nor

 were they added in response to any rejection. The Applicant added new claims including the acrylic

 limitations in a June 6, 2015 amendment and response to a rejection over Guest and Heller. See Ex.

 F, June 6, 2015 Amendment at 4-6. But the rejection in view of Guest and Heller did not reference

               , nor did it concern the lens material at all. Id., March 12, 2014 Rejection at 2-5.

 Rather, the rejection over Guest and Heller concerned illumination uniformity. Id. (Guest discloses a

 plurality of LEDs disposed on a substrate … wherein the light from each of the LEDs is directed by

 the transparent substrate across the entire area of the surface … it would have been obvious … to

 use the configuration of Heller et al. in the apparatus of Guest to light a sign in an even manner.”)

 The rejected claims were allowed after the addition of limitations requiring equal illumination from

 “each of the LEDs” directing light through “a plurality of optical elements” disposed over the LEDs,

 not the addition of material limitations. Id. at 2. Claim 10 (then-numbered 11) was similarly allowed


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 with the configuration of a lens elements over a corresponding plurality of LEDs, lacking both the

 lens element limitations of claim 1, and the acrylic material limitation of claim 15. Id. at 3.

 Substantially similar limitations regarding the configuration of LEDs and lens elements are recited

 in claim 15. See Amendment at 4 (then-numbered claim 16 reciting “the plurality of optical elements

 disposed over the plurality of LEDs and configured to direct light from each of the plurality of LEDs

 [] onto a display surface … wherein the light from each of the LEDs is directed [] across the entire

 area of the display surface so that each LED evenly illuminates substantially the entire display

 surface.”). Thus, Claim 15 was allowed based on its limitations regarding illumination and the

 configuration of optical elements over a plurality of LEDs, not its requirement for acrylic materials.

        The acrylic limitations were also tangential to the amendment because a parallel claim

 reciting                           would have been allowable. There is no disclosure of

                lenses in either Guest or Heller, and such a claim would have been allowed for at

 least the same reasons as claim 15. Prosecution history estoppel does not limit application of the

 doctrine of equivalents to                 because the addition of new claims cannot have surrendered

 claim scope which would have been allowed. See contra Cross Med. Products, Inc. v. Medtronic

 Sofamor Danek, Inc., 480 F.3d 1335, 1341 (Fed. Cir. 2007).

        Because the addition of new claims with acrylic material limitations was not in response to a

 rejection, because claim 15 was independently allowable based on its requirement for even

 illumination from each LED, and because “acrylic” and                       would have been

 interchangeable for purposes of allowability, the addition of acrylic material terms was only

 tangentially related to the amendment of rejected claims. Thus, the doctrine of equivalents is not

 limited by prosecution history estoppel.

        Second, Ultravision is not prohibited from asserting infringement under the doctrine of

 equivalents because Ultravision’s infringement contentions properly disclosed its theory pursuant to

 P.R. 3-1(d). See e.g. Ex. D at 6 (“To the extent the optical elements do not comprise acrylic,


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 Yaham’s products still infringe under the doctrine of equivalents because the accused product, even

 taking into account any alleged “difference” identified by Defendant, would be substantially similar

 to the claim limitation. The pertinent feature of the accused products would at a minimum perform

 substantially the same function of the claim limitation in substantially the same way, to achieve

 substantially the same result.) Moreover, Yaham has waived any argument that it lacked such notice.

 Yaham never notified Ultravision of any alleged deficiency in its contentions. Yaham never sought

 discovery regarding Ultravision’s doctrine of equivalents positions during facto discovery, either

 formally or informally. Yaham has also not moved to strike Dr. Coleman’s doctrine of equivalents

 opinions as untimely or beyond the scope of Ultravision’s contentions. Accordingly, Dr. Coleman’s

 show a genuine dispute of material fact regarding the acrylics limitations, and Yaham’s attempt to

 disregard Dr. Coleman’s opinions is improper.

        Third, Dr. Coleman’s opinions are consistent with the Court-ordered construction of “acrylic

 material,” and Yaham’s new claim construction arguments are improper.

        Yaham already waived these new claim construction arguments and should not be allowed to

 raise them for the first time in this Motion. See Music Choice v. Stingray Digital Group Inc., 2:16-

 CV-00586-JRG-RSP, 2019 WL 8110069, at *3 (E.D. Tex. Nov. 19, 2019). (“This Court has stated

 that a failure to timely raise claim construction arguments should ordinarily result in waiver of the

 arguments.”) (internal citations omitted). Ultravision originally proposed that acrylic material be

 construed as “a material containing acrylate.” Ex. C (P.R. 4-2 Disclosure) at 9. Yaham agreed to a

 slightly modified version of Ultravision’s proposal knowing that Ultravision asserted infringement

 based on the doctrine of equivalents. Dkt. 72-1 at 1. Yaham should be precluded from taking the

 inconsistent position its agreed construction was incorrect. Ericsson Inc. v. TCL Commc'n Tech.

 Holdings, Ltd., 2:15-CV-00011-RSP, 2017 WL 5137401, at *15 (E.D. Tex. Nov. 4, 2017) (“denying

 additional construction where party “could have made these arguments during the claim construction




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 phase of the case but did not”). Yaham waived its new claim construction arguments, and should be

 estopped from raising them now.

        Yaham is also incorrect that equivalents of “acrylic materials” are limited by claim

 differentiation. Yaham relies on a strawman argument that Ultravision’s contends any “substantially

 transparent” material is equivalent to “acrylic material” under the doctrine of equivalents. Dkt. 127

 at 7-8. This has never been Ultravision’s position, and is not the argument articulated in Dr.

 Coleman’s report. As Dr. Coleman explains, acrylic and                    polymers that are so similar

 as to be “interchangeable” in lens applications. Ex. A at ¶ 152. Yaham’s speculation that

 Ultravision’s theory of infringement of claim 15 would extend to any transparent material is

 therefore unjustified. Accordingly, claim differentiation does not preclude “acrylic material” from

 equivalently encompassing                   materials, because that would not render the “acrylic

 material” of claim 15 coextensive with the “substantially transparent” materials of claim 1.

        Thus, because a reasonable jury could find that the                         of the Accused

 Products equivalently satisfy the “acrylic material” limitations, and because Yaham has failed to

 show that summary judgment is correct as a matter of law, Yaham has failed to meet its burden for

 summary judgment.

    B. There is a Genuine Dispute of Material Fact over whether The Accused
       Products illuminate a surface with a uniformity ratio of 3:1

        There is a genuine dispute of material fact regarding whether the Accused Products

 illuminate a display surface wherein “a ratio of the average illumination from each of the LEDs

 across the entire display surface to the minimum illumination at any point on the display surface

 from each of the LEDs is 3:1.” Dr. Coleman applied the plain and ordinary meaning of the term to

 conclude that the limitation is satisfied by an illumination ratio of 3:1 or better. Yaham’s

 disagreement with Dr. Coleman’s opinions is a factual dispute that precludes summary judgment.

        Dr. Coleman opines that the ordinary meaning of average to minimum illumination ratios

 includes better (i.e. lower) values. Ex. A at ¶ 153. In particular, Dr. Coleman opines that:

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 (Fed. Cir. 2008) (“The term ‘selectively couples’ was not construed by the district court because the

 parties agreed to let the ordinary meaning control.”) Yaham should therefore be estopped from

 arguing that Dr. Coleman’s application of the plain and ordinary meaning of “3:1” is improper.

         In any case, Yaham is incorrect that the ordinary meaning of a panel “wherein a ratio of the

 average illumination from each of the LEDs across the entire display surface to the minimum

 illumination at any point on the display surface from each of the LEDs is 3:1” is limited to “exactly

 3:1.” Dkt. 127 at 11-12.

         First, Yaham improperly conflates the “evenly illuminates” term of claim 15, and the “ratio

 of … 3:1” term of claim 20. Yaham’s argument is based on a misunderstanding that “even

 illumination” is necessarily satisfied if the 3:1 illumination term is satisfied. It is not. A surface

 illuminated with bright hotspots could achieve a 3:1 illumination ratio, but would not would not

 satisfy the “level of illumination that does not create noticeable unevenness in the overall

 illumination, such as hot spots or dead spots” required for claim 15. Yaham’s own claim

 construction brief acknowledged this. Dkt. 98 at 5. Moreover, even if a 3:1 ratio did inherently

 satisfy even illumination limitations, there is no reason that claim differentiation would prevent

 claim 20 from capturing the subset of average to minimum illumination ratios that a POSITA would

 understand to achieve a ratio of 3:1 or better. Thus, claim differentiation does not require a ratio of

 “exactly 3:1” as Yaham suggests.

         Second, Ultravision does not rely “solely” on the specification’s disclosure that a POSITA

 would understand illumination that “illumination with a uniformity that achieves a 3:1 ratio of the

 average to minimum” has a ratio of 3:1. Rather, Dr. Coleman’s application of the plain and ordinary

 meaning of 3:1 is confirmed by this portion of the specification. Yaham merely cites to an

 embodiment in which even illumination has a uniformity ratio of 3:1. Nothing in the specification

 suggests that illumination that achieves a uniformity ratio is limited to a ratio of exactly 3:1. Nor is it

 appropriate to limit all illumination that would otherwise satisfy the plain and ordinary meaning of


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 “3:1” (i.e. 3:1 or better) to exactly 3:1 based on one embodiment disclosed in connection with

 evenness as opposed to uniformity ratio. Accordingly, while the specification’s discussion of

 illumination that “achieves a 3:1 ratio” confirms Dr. Coleman’s opinions, the embodiment of even

 illumination with a 3:1 average to minimum uniformity ratio is non-limiting.

        Third, Yaham fails to identify any lexicography or clear and unambiguous disclaimer of

 claim scope during prosecution that would limit the ratio of average to minimum illumination to

 “exactly” 3:1. Instead, Yaham cites to a June 5, 2014 amendment of the related ‘413 Patent in which

 the Applicant argued the Office Action did not meet its burden to identify the importance of the ratio

 as “result-effective variable, i.e., a variable which achieves a recognized result, before the

 determination of the optimum or workable ranges of said variable might be characterized as routine

 experimentation.” Ex. G, June 5, 2014 Amendment at 8. (emphasis added). Applicant further argued

 that “the Office Action fails to point out how this relates to the light distribution from each LED.”

 Id. In other words, Guest did not teach or disclose how (or why) to achieve a ratio of average to

 minimum illumination of 3:1 from each LED. Nowhere did the Applicant disavow the plain and

 ordinary meaning of the 3:1 uniformity ratio, which a POSITA would understand to include ratios

 better than 3:1.

        Finally, the existence the related ‘248 Patent claiming “a uniformity that achieves at most a

 3:1 ratio of the average illumination to the minimum illumination” does not alter the plain and

 ordinary meaning of the a “ratio of … 3:1” in the ‘410 Patent. Yaham does not, and cannot,

 articulate how this claim constitutes a “prosecution disavowal.”

        Because a reasonable jury could find that the Accused Products satisfy the “ratio of … 3:1”

 limitation based on Dr. Coleman’s expert opinions and the evidence cited, and because Yaham’s

 competing application boils down to a factual dispute regarding infringement, Yaham is precluded

 from summary judgment.




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 technical expert disagrees with Dr. Coleman’s opinions regarding light distributions or the

 representativeness of his calculations merely shows the existence of a genuine dispute.

          Second, Yaham similarly suggests that Dr. Coleman “fails to account” for the position of the

 Accused Products in his calculations. Again this is false.




                  Yaham’s argument is also irrelevant because claim 15 does not include any limitation

 on the position of the illumination source relative to the display surface. To the extent Yaham’s

 argument has any nexus with claim 15, Dr. Katona’s disagreement with the parameters that Dr.

 Coleman used merely shows the existence of a genuine dispute. Hodosh v. Block Drug Co., Inc., 786

 F.2d 1136, 1143 (Fed. Cir. 1986) (“The fact issues herein must be resolved by trial in which the

 conflicting views of the experts will be subject to the refining fire of cross examination.”)

          Finally, Yaham’s argument that the display surface Dr. Coleman simulated is too small is

 incorrect, and inconsistent with the Court’s construction. The Court construed “display surface” to

 mean “sign surface.” Dkt. 111 at 45-48. The term “sign surface” does not limit a sign to one the size

 of a standard 48x14 foot billboard, as Yaham assumes.1 Moreover, Yaham mischaracterizes Dr.

 Coleman’s measurements as confined to a “small portion” of a larger surface. To the contrary,

                                                                                                           his radiosity

 calculations are equally applicable to other sized display surfaces, and other numbers of fixtures. Ex.

 A at ¶ 160. To the extent Yaham’s argument includes any valid criticism, however unwarranted, this

 merely shows a further genuine dispute of material fact.

          Thus, there remains a genuine dispute of material fact regarding how each LED of the

 Accused Products produce even illumination, and Yaham’s Motion should be denied.



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  In Dkt. 125, Ultravision moves to strike these improper opinions from Dr. Katona’s report for failure to apply the
 Court’s construction.
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 VII.      CONCLUSION

           For all the foregoing reasons, Ultravision respectfully requests that Yaham’s Sealed Motion

 for Summary Judgment Regarding Noninfringement of U.S. Patent No. 8,870,410 (Dkt. 127) be

 denied.

 Dated: December 14, 2020                                 Respectfully submitted,

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                             CERTIFICATE OF SERVICE


          I hereby certify that on December 14, 2020, a true and correct copy of the above and

   foregoing document has been served by email on all counsel of record.

                                                   /s/ Alfred R. Fabricant
                                                       Alfred R. Fabricant




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